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                               EXHIBIT A
              Mexican Liquidator’s Acceptance of Appointment
                         and Certified Translation
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              Certified Translation (English)
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    [A STAMPED SEAL READING:]
        “JUDICIARY BRANCH
           OF MEXICO CITY               ANGEL FRANCISCO ROMANOS BERRONDO
         JUL 8, 2022 9:36 AM
                                        VS
  FIFTY-SECOND COURT FOR CIVIL
              MATTERS”                  CRÉDITO REAL, S.A.B. DE C.V., SOFOM, E.N.R.
         [IN HANDWRITING:]
        “2 EXHIBITS [illegible]”        SPECIAL COMMERCIAL ACTION
                                        FILE: 691/2022
                                        COURT CLERK “A”
                                        MAIN AND ANCILLARY COURT RECORDS
                                        ACCEPTANCE AND OATH OF OFFICE AS
                                        PROVISIONAL LIQUIDATOR

FIFTY-SECOND JUDGE FOR CIVIL MATTERS OF THE SUPERIOR COURT OF
JUSTICE OF MEXICO CITY


I, FERNANDO ALONSO DE FLORIDA RIVERO, on my own behalf, respectfully appear before
You and state:


        That by means of court order dated June thirty, two thousand twenty-two, personally notified
to the undersigned on July 7, 2022, Your Honor randomly appointed the undersigned as provisional
judicial liquidator and demanded that within a five-day term to accept, demonstrate and evidence
having the necessary experience. Such court order literally reads as follows:

        “Consequently and as requested by the plaintiff, from the List of Receivers of the
        Federal Institute of Bankruptcy Specialists (IFECOM [Lista de Síndicos del Instituto
        Federal de Especialistas de Concursos Mercantiles]), Mr. FERNANDO ALONSO
        DE FLORIDA RIVERO was randomly appointed as Provisional Judicial Liquidator,
        with the authority established in articles 242, 245, 247, 248 and thereafter of the
        General Law of Business Companies; and due to the foregoing, the relevant schedule
        shall be prepared and remitted to the Court Officer of the jurisdiction, in order to
        personally notify him at the domicile located at Torre Arcos Bosques 1, Paseo de los
        Tamarindos No. 400-B Pisos 8 and 9, Bosques de las Lomas, C.P. 05120, in Mexico
        City, as it is his working place as inferred from the web page:
        https://jaureguiydelvalle.com/attorney/fernando-alonso-de-florida-r-es/; to appear
        before this Court within a period of FIVE DAYS to accept, promise to discharge his
        duties faithfully and evidence to have the necessary experience”

        In view of the foregoing, the undersigned, on his own behalf, accepts and promises to
discharge his duty as provisional liquidator appointed by the Judge, in terms of this document,
accepting the authority granted thereto set forth in articles 242, 245, 247, 248 and thereafter of the
General Law of Business Companies.
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        I hereby request Your Honor to consider myself as accepting and promising to
discharge the duty as provisional liquidator with all the authority established in articles 242,
245, 247, 248 and thereafter of the General Law of Business Companies of the company named
Crédito Real, S.A.B. de C.V., SOFOM, E.N.R.

        The undersigned states under affirmation, that: (i) I live in Mexico in terms of the provisions
of the Federal Fiscal Code; (ii) I am registered with the Federal Institute of Bankruptcy Specialists,
as evidenced by means of copy of official communication attached hereto as Exhibit “1”; (iii) I
submit the special credit report, a copy of which is attached hereto as Exhibit “2”; (iv) I have no
pending litigation against the defendant; (v) I have not been convicted for any crimes against property,
nor disqualified to perform trading activities or to occupy a position, title or commission in the
Mexican financial system; (vi) I have not been declared in bankruptcy; and (vii) that I have not acted
as external auditor of the company during the twelve months immediately preceding my appointment.

        Finally, I request to be issued a certified copy in three counterparts of (i) the court order
dated June thirty, two thousand twenty-two; and (ii) the court order resulting from this proceeding,
authorizing to hear and receive notifications in my name, even the certified copies being requested,
to Gabriela Rojas Ruano, Juan David Morales Astudillo, Roberto Tapia Rodríguez, Frida Itzel García
Jiménez, Miriam Bela Hale Waxman, Rodrigo Mejía Luna, Eric Santamaria Toussaing and Íñigo
Sañudo Conesa.

        In view of the foregoing,

I hereby request YOU, YOUR HONOR as follows:

        ONE. To consider the undersigned, FERNANDO ALONSO DE FLORIDA RIVERO,
having accepted and promised to discharge the position as provisional liquidator of Crédito Real,
S.A.B. de C.V., SOFOM, E.N.R.

        TWO. To issue, at the expense of the undersigned and in three counterparts, the court order
dated June thirty, two thousand twenty-two and the one resulting from this proceeding, authorizing
the person indicated above for the purposes therein described.

                                 I PROTEST AS NECESSARY
                             Mexico City, Mexico, on the submittal date.


                                     [Signed]
                        FERNANDO ALONSO DE FLORIDA RIVERO
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                    Original (Spanish)
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                                            VS                            RONDO
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                 rJUL -8 !r                 CREDITO REAL' S•A'
                                                               8 DE C.V.,
                                            E.N.R.                        SOFOM,

                                            JUICIO ESPECIAL MERC
                                                                              ANTIL
                                            EXPEDIENTE: 691/2022

                                           SECRETARIA "A"

                                           CUADERNO PRINCIPAL E INCI
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                                          SE ACEPTA Y PROTESTA CA
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                                     FLORIDA         VERO, por propio derecho, ante Ustcd,
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        "En consecuencia y como lo solicfta la actora, se designa de manera
       oleatorla de /a Lista de Sindlcos de/ Instituto Federal de Especialistas de
       Concursos Mercantiles (IFECOM), como Liquidador Judicial Provisional
       con /asfacullades establecidas en el arliculo 242, 245, 247, 248y siguientes
       de lo Ley General de Sociedades Mercanliles al C. FERNANDO ALONSO
      DE FLORIDA RIVERO, por lo cual elaborese la cedula respectIva y turnese
      al Act11arlo de la adscripcion, a efecto de notificarlo personalmente en el
      domlcillo 11bicado en Torre Arcos Bosques I, Paseo de los Tamarindos No.
      400-BPisos 8y 9, Bosques de las Lomas, C.P. 05 I 20, Ciudad de Mexico, por
     ser su lugar de trabajo como se desprende de la ptigina de internet:
     h1Jps:/lja11reguiydelvalle.comlattorney/fernando-a!onso-de-florida-r-esl
     para q11e comparezca a ese Juzgado en rm termino de CINCO DIAS para
     aceptar, prates/or el cargo y acreditar conlar con experiencia necesaria"
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        En \rirtud de l o anterior, el suscrito por propio derecho, acepta y protcsto el cargo de
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            provisionnI des1gn. ado por su Sel'lor£a en terminos del presente escrito aceptando
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